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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

___________________________________
                                    )
BILL & MAGGIE LAWRENCE h/w          )                Case Number
                                    )
            Plaintiffs              )
                                    )
            v.                      )                CIVIL COMPLAINT
                                    )
GILLETTE & PAUL LAW                 )
OFFICES, PLLC                       )
                                    )                JURY TRIAL DEMANDED
            Defendant               )
___________________________________ )



                            COMPLAINT AND JURY DEMAND

       COMES NOW, Plaintiff, Bill & Maggie Lawrence, h/w/, by and through his

undersigned counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of Warren &

Vullings, LLP, complaining of Defendant, and respectfully avers as follows:



                             I. INTRODUCTORY STATEMENT

       1.      Plaintiffs, Bill & Maggie Lawrence, h/w/, are adult natural persons and bring this

action for actual and statutory damages and other relief against Defendant for violations to the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), the Pennsylvania Fair

Credit Extension Uniformity Act, 73 P.S. § 2270.4 (“PFCEUA) and the Unfair Trade Practices

and Consumer Protection Law, 73 P.S. § 201-1-201-9.3 (“UTPCPL”) which prohibits debt

collectors and original creditors from engaging in abusive, deceptive and unfair practices.
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                                       II. JURISDICTION

        2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1337.

        3.     Venue in this District is proper in that the Plaintiff resides in this District.



                                          III. PARTIES

        4.     Plaintiffs, Bill & Maggie Lawrence, h/w are adult natural persons residing at 108

Rutledge Circle, North Wales, Pennsylvania 19454. At all times material and relevant hereto,

Plaintiffs are “consumers” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

        5.     Defendant, Gillette & Paul Law Offices, PLLC (“Defendant”), at all times

relevant hereto, is and was a law firm engaged in the business of collecting debt within the

Commonwealth of Pennsylvania and the State of Utah with its principal place of business located

at 515 South 700, 1F, Salt Lake City, Utah 84101.

        6.     Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).

                               IV. FACTUAL ALLEGATIONS

        7.     On or about January 2011, the Plaintiffs begain receiving automated Phone calls

from the Defendant.

        8.     Plaintiffs attempted to return the Defendant’s phone calls but would be directed to

another automated service.

        9.     On or about August 23, 2011, Plaintiffs received yet another automated phone call

from the Defendant.
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           10.     Plaintiff, Bill decided to call the number on the caller id system rather than the

call back number left by the automated service.

           11.     Plaintiff, Bill, spoke with an agent of the Defendant.

           12.     Defendant’s agent told the Plaintiff, Bill he owed a debt and to just pay it.

           13.     Defendant’s agent did not specify what the debt was for.

           14.     Defendant’s agent also told Plaintiff, Bill the Defendant had already filed a

lawsuit against both Plaintiffs.

           15.     The Plaintiff, Bill, told the Defendant’s agent did not owe any debts and to stop

calling.

           16.     Defendant’s agent told the Plaintiff, Bill to just pay the money.

           17.     Plaintiff, Bill hung up on the Defendant’s agent.

           18.     Defendant’s agent called back and Plaintiff, Maggie, answered the phone.

           19.     Defendant’s agent asked to speak with Plaintiff, Bill.

           20.     Plaintiff, Maggie, told the Defendant’s agent Plaintiff, Bill, was unavailable and

asked who was calling and said she would give Plaintiff, Bill, the message.

           21.     Defendant’s agent stated they were a law firm but Defendant’s agent refused to

give the name of the law firm.

           22.     Defendant’s agent told Plaintiff, Maggie, that Plaintiff, Bill, owed an alleged debt

of $684.00 on a Bank of America Visa Card which was opened in 2004.

           23.     Defendant’s agent also told Plaintiff, Maggie, that Plaintiff, Bill’s, last payment

on the debt was in 2007.

           24.     Defendant’s agent told Plaintiff, Maggie, the claim number for the account and

the credit card number.
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        25.     Plaintiff, Maggie, asked how the payment was made.

        26.     Defendant’s agent, stated he could not tell Plaintiff, Maggie.

        27.     Defendant’s agent began to ask Plaintiff, Maggie, why Plaintiff, Bill had

defaulted on the credit card.

        28.     Defendant’s agent suggested that Plaintiff, Bill, lost his job and wanted to know if

that was why Plaintiff, Bill, wasn’t making payments.

        29.     Defendant’s agent suggested that Plaintiff, Maggie, make arrangements to pay off

Plaintiff, Bill’s, alleged debt.

        30.     Plaintiff, Maggie, told the Defendant’s agent she would call her attorney and get

back the Defendant’s agent.

        31.     Plaintiff, Maggie, asked for a phone number the Defendant’s agent could be

reached.

        32.     Defendant’s agent stated he didn’t believe Plaintiff, Maggie, really had an

attorney.

        33.     Defendant’s agent continued to tell Plaintiff, Maggie she should just pay the

alleged debt for Plaintiff, Bill.

        33.     Defendant’s agent finally gave Plaintiff, Maggie, a phone number and Plaintiff,

Maggie, was told to ask for Defendant’s agent, “Mr. Johnson”.

        34.     Defendant’s agent never asked Plaintiff, Maggie, for her name or who Plaintiff,

Maggie, was in relation to Plaintiff, Bill.

        35.     Plaintiffs have never received anything in writing from the Defendant.

        36.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and their
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agent’s actions within compliance of the FDCPA, but neglected to do so and failed to adequately

review those actions to insure compliance with the law.

        37.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their employment and

under the direct supervision and control of Defendant herein.

        38.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

disregard for federal and state law and the rights of the Plaintiffs herein.

        39.     As a result of Defendant’s conduct, Plaintiffs have sustained actual damages,

including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage to

Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and anguish and

pecuniary loss and they will continue to suffer same for an indefinite time in the future, all to

their great detriment and loss.



                                        COUNT I – FDCPA

        40.     The above paragraphs are hereby incorporated herein by reference.

        41.     At all times relevant hereto, Defendant was attempting to collect an alleged debt

which was incurred by Plaintiffs for personal, family or household purposes and is a “debt” as

defined by 15 U.S.C. § 1692a(5).

        42.     The foregoing acts and omissions constitute violations of the FDCPA, including

but not limited to, violations of:

                § 1692c(c):            With anyone except consumer, consumer’s attorney, or

                                       credit bureau concerning the debt
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               § 1692d:                Any conduct the natural consequence of which is to

                                       harass, oppress, or abuse any person

               § 1692e(10):            Any false representation or deceptive means to collect a

                                       debt or obtain information about a consumer

               § 1692f:                Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt

               § 1692g:                Failure to send the consumer a 30-day validation notice

                                       within five days of the initial communication

       WHEREFORE, Plaintiffs respectfully pray that judgment be entered against the

Defendant, Gillette & Paul Law Offices, PLLC for the following:

       a.      Actual damages;

       b.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

       d.      Such additional and further relief as may be appropriate or that the

       interests of justice require.




                                            COUNT II
             VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
                                       UNIFORMITY ACT
                              (FCEUA, 73 Pa. C.S. § 2270.1 et seq.)


       43.     Plaintiffs repeat, re-allege and incorporate by reference the foregoing paragraphs.

       44.     The collection of a debt in Pennsylvania is proscribed by the Fair Credit

Extension Uniformity Act at 73 Pa. C.S. § 2270.1 et seq., (“FCEUA”) and the Pennsylvania
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Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et seq. (“UTPCPL”).

Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.

        45.     The alleged debt Defendant was attempting to collect is a debt as defined by 73

Pa. C.S. § 2270.3.

        46.     The FCEUA proscribes, inter alia, engaging in any false, misleading or deceptive

representations when attempting to collect a consumer debt.

        47.     The actions of Defendant as aforesaid, constitute false, misleading or deceptive

representations.

        48.     Violations of the FDCPA is a per se violation of the FCEUA and the UTPCPL.

        49.     As a direct and proximate result of the said actions, Plaintiffs have suffered

financial harm.

        50.     By virtue of the violations of the law as aforesaid, and pursuant to the FCEUA

and UTPCPL, Plaintiffs are entitled to an award of actual damages, treble damages, attorney’s

fee and costs of suit.

        WHEREFORE, Plaintiffs pray this Honorable Court enter judgment in their favor and

against Defendant and Order the following relief:

        a.      Actual damages;

        b.      Treble damages;

        c.      An award of reasonable attorneys fees and expenses and costs of court; and

        d.      Such additional relief as is deemed just and proper, or that the interests of justice

require.
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                                            COUNT III
         VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LAW
                            (“UTPCPL”), 73 Pa. C.S. § 201-1 et seq.


        51.     The foregoing paragraphs are incorporated herein by reference.

        52.     Plaintiffs and Defendant are “Persons” to 73 Pa. C.S § 201-2.

        53.     The UTPCPL proscribes, inter alia, engaging in any “unfair or deceptive acts or

practices”, either at, and prior to or subsequent to a consumer transaction.

        54.     The action of Defendant as aforesaid, constitutes unfair acts or practices under the

UTPCPL, by way of the following, inter alia:

        a.      Defendant misrepresented to Plaintiffs the character, extent or amount of the debt

or its status in a legal proceeding, 73 Pa. C.S. § 201-3.1;

        b.      Defendant engaged in deceptive or fraudulent conduct which created a likelihood

of confusion or of misunderstanding, 73 Pa. C.S. § 201-2(xxi);

        c.      Defendant failed to comply with the FDCPA and FCEUA which are per se

violations of the UTPCPL.

        55.     As a direct and proximate result of the said actions, Plaintiffs have suffered

financial damages and other harm.

        56.     By virtue of the violations of law aforesaid and pursuant to the UTPCPL,

Plaintiffs are entitled to an award of actual damages, treble damages, attorney’s fees and costs of

suit.

        WHEREFORE Plaintiffs pray this Honorable Court enter judgment in their favor and

against Defendant and Order the following relief:
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       a.      An Order declaring that Defendant violated the UTPCPL;

       b.      Actual damages;

       c.      Treble damages;

       d.      An award of reasonable attorney’s fees and expenses and cost of suit; and

       e.      Such additional relief as is deemed just and proper, or that the interest of justice

may require.

                                      V. JURY DEMAND

       Plaintiffs hereby demand a jury trial as to all issues herein.



                                              Respectfully submitted,

                                              WARREN & VULLINGS, LLP

Date: September 16, 2011                      BY: /s/Bruce K. Warren BKW4066
                                              Bruce K. Warren, Esquire


                                              BY: /s/Brent F. Vullings BFV8435
                                              Brent F. Vullings, Esquire

                                              Warren & Vullings, LLP
                                              93 Old York Road
                                              Jenkintown, PA 19046
                                              215-745-9800 Fax 215-745-7880
                                              Attorneys’ for Plaintiff
